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3                                  UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5                                                ***
6     CORY O’NEAL BREWER,                              Case No. 3:20-cv-00396-MMD-CLB
7                                       Petitioner,                  ORDER
8            v.
9
      WILLIAM GITTERE, et al.,
10
                                     Respondents.
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13          In this habeas corpus action, pro se petitioner Cory O’Neal Brewer is due to file a
14   memorandum of points and authorities in support of, and as a supplement to, his habeas
15   petition by August 31, 2020. (See ECF No. 3.)
16          On August 27, 2020, Brewer filed a motion for extension of time (ECF No. 6),
17   requesting a 30-day extension of time to file the memorandum of points and authorities.
18   The Court determines that Brewer’s motion for extension of time is made in good faith
19   and not solely for the purpose of delay, and there is good cause for the extension of time
20   he requests. The Court will grant the motion for extension of time.
21           The Court will waive the requirements of LR 15-1; the memorandum of points and
22   authorities will be treated as a supplement to, and part of, Brewer’s habeas petition. The
23   page limits set forth in LR 7-3(a) and (b) do not apply; there will be no page limit for the
24   memorandum of points and authorities. In granting this motion for extension of time, the
25   Court does not extend, or affect in any way, any applicable limitations period imposed by
26   any statute of limitations.
27   ///
28   ///
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1          It is therefore ordered that Petitioner’s Motion for Extension of Time (ECF No. 6) is

2    granted. Petitioner will have until and including September 30, 2020, to file a

3    memorandum of points and authorities in support of, and as a supplement to, his habeas

4    petition, as described in the order entered July 2, 2020 (ECF No. 3).

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6          DATED THIS 28th day of August 2020.
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                                              MIRANDA M. DU
9                                             CHIEF UNITED STATES DISTRICT JUDGE
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